‘ i

U.S. Department of Justice’

1

Case 1:17-cv-08142-AJN

United States Marshals Service

ates

Document 47 Filed 09/06/19 Page 1 of 3

PROCESS RECEIPT

See "Instructions for Service of Pr

AND RETURN
cess by U.S. Marshal"

 

 

PLAINTIFF COURT CASE NUMBER
STUART FRIEDMAN and SHERRI FRIEDMAN 17-cv-08142-AJN
DEFENDANT TYPE OF PROCESS

MISSION OF THE GABONESE REPUBLIC and AMB. BAUDELAIRE NDONG ELLA

Writ of Execution

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO S$
Citibank, N.A.

SERVE

EIZE OR CONDEMN

 

AT

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

388 Greenwich Street, New York, NY 10013

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

Kevin Fritz, Esq., Meister Seelig & Fein LLP, 125 Park Avenue, 7th Floor, New York, NY

10017 (212) 655-3570 kaf@msf-law.com

served with this Form 285

 

Number of parties to b¢
served in this case

 

Check for service
on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Aé dresses,
All Telephone Numbers, and Estimated Times Available for Service): ’ ee

ee

a

Judgment debtor Gabonese Republic maintains Citibank accounts 15350053 and 15469311 in the name "Paierie du Gabon aux USA"

 

Signatur

orney other Originato

we CAA

r requesting service on b

i PLAINTIFF
[[] DEFENDANT

 

212-655-3570

 

TELEPHONE NUMBER srk E

 

5/21/2019

 

SPACE BEXOWFOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

I acknowledge receipt for the total

number of process indicated.

(Sign only for USM 285 if more
than one USM 2835 is submitted)

Total Process | District of

Origin

 

Pl |mo pst

District to
Serve

 

 

No. oo

Signature of Authorized USMS Deputy or Clerk

Go

Date

 

Thereby certify and return that I Kn

4819

have personally served , [7] have legal evidence of service, [[] have executed as shown in "Remarks", the process described on the

 

 

individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(] Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Napye and title of individual served (if not shown above) Date Ti C L] am
Carles brias- Yoonnal Bn ty tHohq | 6:3 wm

 

 

Address (complete only diffrent than shown above)

250 Rroaducoy

Newoorie WY 000}

 

 

Signature of U.S. Marshallor Deputy

LH} b

 

 

 

 

 

 

 

 

Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits | Amount owed to tsS-Marshal* lor
(including endeavors) (Amount of Refund*)
00] h\.0 ¥ 66.04
REMARKS

| hereby certify and return that on July 19, 2019, I received a check
from Citibank, in the amount of $374,806.20 representing funds for

case number 17 Civ. 8142

Judgment Satisfied
Dated: New York, NY
July 30, 2019

Michael Greco

United States Marshal

By: Allison Honeymar
Deputy United States Marshal

NB AD OS

 

 

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE

Fonn USM-285

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United States District Court
SOUTHERN DISTRICT OF NEW YORK

dy

JUDGMENT No. 1 DOCKET No. 177

THE PRESIDENT OF THE UNITED STATES OF AMERICA
To the Marshal ofthe Southern District of New York, GREETING:

YOU ARE COMMANDED, that of the goods and chattels of the Gabonese Republic
as authorized by Order dated April 10, 2019,

7-tv-08142 (AJN)

 

 

in your district you cause to be made the sum of three hundred seventy-four thousand seven f

undred 4

 

and forty dollars anaSXteen

cents, (3f

 

which lately in the United States District Court of the United States for the Southern District of New Yo

Circuit, Stuart Friedman and Sherri Friedman

4 ,ZA0.16

)

Kk, in the Second

 

recovered against the said Gabonese Republic

 

 

in an action between Stuart Friedman and Sherri Friedman

 

 

PLAINTIFF and Mission of the Gabonese Republic and Ambassador Baudelaire Ndong

Ella

 

 

DEFENDANT, in favor of said Stuart Friedman and Sherri Friedman

 

 

as appears by the record filed in the Clerk's Office of said District Court on the21 st
opvune 2018

, in the year of

day

 

and if sufficient personal property of the said judgment debtor cannot be found in your District, that then
same to be made out of the real property belonging to such judgment debtor on the above-mentioned da’

you cause the
y, or at any time

thereafter, in whose hands soever the same may be, and return this execution within sixty days after its r¢ceipt by you, to

the Clerk of said District Court.

WITNESS, the Honorable Colleen McMahon, Chief Judge of the United aay District Court

for the Southern

 

District of New York, at the City of New York, on the day of. in the
year of our Lord ZO) 9 , and of the Independence of the United Site a two I> borer
“TLY- ey year.

fly

3

 

SDNY Web
06/01/2016

 
 

 

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United States District Court
SOUTHERN DISTRICT OF NEW YORK

Stuart Friedman and Sherri Friedman

 

-against-

Mission of the Gabonese Republic and Ambassador Baudelaire Ndong Ella

 

EXECUTION AGAINST PROPERTY
Gabonese Republic

 

 

Attorney for

plaintiffs Stuart Friedman and Sherri Friedman

 

Borough of Manhattan
City of New York

Kevin Fritz, Esq. of Meister Seelig & Fein LLP

 

To the Marshal:
You will levy and collect

hree hundred seventy-four thousand seven hundred forty

3 7 4 7 4 0 Dollars
16

 

 

cents,

with interest from the

June 2018

day of

 

besades your fees, etc.
\

  

Attorney
